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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO

   Civil Action No. 19-cv-03417-WJM

   REBECCA BRIGHAM,


             Plaintiff,
   v.

   FRONTIER AIRLINES, INC.,

              Defendant.


   DEFENDANT FRONTIER AIRLINES, INC.’S MOTION FOR SUMMARY JUDGMENT


             Defendant Frontier Airlines, Inc. (“Defendant” or “Frontier”), respectfully submits this

   Motion for Summary Judgment, stating as follows:

        I.   INTRODUCTION

             In this disability discrimination case, former flight attendant and recovering alcoholic

   Rebecca Brigham (“Plaintiff” or “Ms. Brigham”) claims that Frontier was required as a reasonable

   accommodation to excuse her from the seniority bidding requirements of the collective bargaining

   agreement between Frontier and the flight attendants’ union, so that she could avoid all flights

   with layovers (which she worried hypothetically would jeopardize her sobriety). Short of that,

   Ms. Brigham claims that Frontier was required to create light-duty work for her on the ground.

   Under well-established precedent, Ms. Brigham’s requests were not reasonable accommodation

   requests under the Americans with Disabilities Act of 1990, as amended, 42 U.S.C. § 12101, et

   seq. (the “ADA”), and Frontier was well within its legal rights to terminate her employment based

   on her extensive attendance infractions. Ms. Brigham’s claims fail as a matter of law.




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          At the outset, Ms. Brigham’s own unequivocal deposition testimony demonstrates that her

   alcoholism has not limited her life activities at all, much less substantially, and never impacted her

   ability to do her job as a flight attendant. That fact alone is fatal to her claims, given that mere

   status as an alcoholic or recovering alcoholic does not per se render Ms. Brigham a qualified

   individual with a disability for purposes of protection under the ADA as a matter of law.

          Further, according to Ms. Brigham herself, she could not perform the essential functions

   of her job as a flight attendant with or without an accommodation. It is undisputed that covering

   flights with layovers was an essential part of Ms. Brigham’s job as a flight attendant. Ms. Brigham,

   however, insisted and continues to insist that she could not cover flights with layovers because

   they jeopardized her sobriety. Therefore, the accommodation Ms. Brigham sought would not have

   enabled Ms. Brigham to do her job as a flight attendant; it would have removed an essential

   function of the job. Frontier was not required to fundamentally alter Ms. Brigham’s position as a

   flight attendant as a matter of law. In addition, it is undisputed that regular attendance and obeying

   Frontier’s related policies and procedures regarding attendance was another essential function of

   Ms. Brigham’s flight attendant position. Therefore, the accommodation Ms. Brigham sought—

   permission not to show up for scheduled flights with layovers—would not have enabled Ms.

   Brigham to do her job as a flight attendant either, but rather removed yet another essential function.

          Even if Ms. Brigham could demonstrate that she was a qualified individual with a disability

   in that she could perform the essential functions of the flight attendant position with or without an

   accommodation, Ms. Brigham lost that status and disqualified herself from the protection offered

   by the ADA when she rejected the reasonable alternative accommodations Ms. Brigham admits

   Frontier proposed, including continuous leave, increasing her Intermittent FMLA Leave, and/or




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   transferring internally within the company to an open, vacant position for which she was minimally

   qualified.

          Moreover, in addition to eliminating fundamental elements of Ms. Brigham’s job as a flight

   attendant, the primary accommodation Ms. Brigham requested was also unreasonable and

   therefore, not required under the ADA, because it would have sacrificed the bona fide seniority

   rights of other flight attendants as set forth in the collective bargaining agreement between flight

   attendants and Frontier.

          Finally, the evidence overwhelmingly demonstrates that Frontier terminated Ms.

   Brigham’s employment because she violated its attendance policies and related protocols—a

   legitimate, non-discriminatory and non-retaliatory reason—and there is simply no evidence to

   suggest this reason was mere pretext for discrimination or retaliation. Ms. Brigham does not

   dispute that she was repeatedly warned regarding her attendance issues, that ultimately, her

   unexcused absences exceeded the number Frontier allowed under its attendance policy, and that

   she failed to abide by the company’s protocols for calling out, warranting her termination pursuant

   to the express terms of the applicable policies.

          Ms. Brigham also does not dispute that Frontier had allowed her to exceed her Intermittent

   FMLA Leave without penalizing her and had reminded her yet again that she could apply for a

   continuous leave, additional Intermittent FMLA Leave, and/or another position within the

   company just weeks prior to her refusal to show up for a scheduled flight with layovers and failure

   to follow the company’s call out procedures, leading to the termination of her employment. There

   is no evidence that Frontier treated similarly situated flight attendants with similar violations of its

   attendance policies more favorably than Ms. Brigham or has ever offered the accommodation Ms.

   Brigham requested to any other active flight attendant.



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          For these reasons and those set forth below, Frontier should be granted summary judgment

   on each of the claims asserted in Ms. Brigham’s Complaint and Jury Demand [Dkt. No. 1] (“the

   Complaint”).

    II.   MOVANT’S STATEMENT OFMATERIAL FACTS

          A.         FRONTIER FLIGHT ATTENDANTS

          1.         Frontier flight attendants must be willing “to work flexible hours/schedules

   including nights, weekends and holidays,” including layovers. See Declaration of Gerardo

   Arellano, attached as Exhibit A at ¶ 5; Excerpts from Pl. Dep. Tr., attached as Exhibit B at 118:10-

   18.

          2.         During Plaintiff’s employment with Frontier, flight schedules for active flight

   attendants were determined by a bidding process based upon seniority as set forth in the flight

   attendants’ collective bargaining agreement with Frontier (the “CBA”), which required all active

   Frontier flight attendants to bid for the flights posted and accumulate a minimum of 60 credit

   hours. See Ex. A (Arellano Decl.) at ¶ 35; see also, Ex. B (Pl.’s Dep. Tr.) at 79:20-80:11.

          3.         After the bidding process closed, awards were determined by seniority such that if

   multiple flight attendants bid for the same trip, the flight attendant with the greatest seniority was

   awarded the trip. See Ex. A (Arellano Decl.) at ¶ 36.

          4.         After awards were determined, flight attendants had the ability to add, drop, and/or

   swap their scheduled flights on a first-come first-served basis using flights available in “Open

   Time,” but were prohibited from dropping below forty-five (45) credit hours. See Ex. A (Arellano

   Decl.) at ¶ 37.

          5.         Pursuant to the CBA, flight attendants were considered inactive and therefore,

   ineligible to bid if they have been granted Frontier-approved continuous leaves such as Leave of



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   Absence (“LOA”), Medical Leave (“MED”), Family Medical Leave Act (“FMLA”) Leave, On the

   Job Injury (“OJI”) Leave, etc. See Ex. A (Arellano Decl.), Ex. 3 (CBA) at FRONTIER AIRLINES

   (R. BRIGHAM) – 0000857.

             6.     If a flight attendant returning from a Frontier-approved leave missed the above-

   described bid period, the flight attendant was permitted, for the remainder of that month, to pick

   up Open Time to build a schedule and/or be assigned Reserve days. See Ex. A (Arellano Decl.),

   Ex. 3 (CBA) at FRONTIER AIRLINES (R. BRIGHAM) – 0000868.

             7.     Flight attendants returning from continuous leaves of absence and therefore,

   inactive during the bidding period, were the only Frontier flight attendants who were excused from

   the bidding process and permitted for the remainder of that month, to pick up Open Time to build

   a schedule. See Ex. A (Arellano Decl.), Ex. 3 (CBA) at FRONTIER AIRLINES (R. BRIGHAM)

   – 0000868.

   Attendance Policies Applicable to Flight Attendants

             8.     In addition to having the ability to work a full and flexible schedule determined

   by the CBA’s seniority-based bidding process, Frontier flight attendants were also required to

   demonstrate their dependability by maintaining regular attendance. See Ex. A (Arellano Decl.)

   at ¶ 8.

             9.     During the time period relevant to this litigation, Frontier’s attendance policy, the

   “Dependability Policy,” stated that employees incurring eight (8) unexcused absences,

   “Occurrences,” within a twelve (12) month period would be subject to termination. See Ex. A

   (Arellano Decl.) at ¶ 10.

   10.       The importance of reliable attendance was also reflected in the CBA, which required

   flight attendants who were unable to report for work because of illness or off-the-job injury to



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   notify Crew Scheduling at least two (2) hours prior to their assigned report time. See Ex. A

   (Arellano Decl.) at ¶ 11.

   Frontier’s Leaves of Absence Policies

          11.     To accommodate unexpected circumstances that may require an employee to be

   absent from work for a period of time, Frontier offered and continues to offer various types of

   leaves including, FMLA Medical Leave, Intermittent FMLA Medical Leave, Non-FMLA

   Medical Leave, and Personal Leave. See Ex. A (Arellano Decl.) at ¶ 13.

          12.     In addition, Frontier allowed employees to take FMLA Medical Leave on an

   intermittent basis (“Intermittent FMLA Leave”). See Ex. A (Arellano Decl.) at ¶ 13.

          13.     Pursuant to the Intermittent FMLA Leave policy in place during the time period

   relevant to this lawsuit, employees were required to “make reasonable efforts to schedule

   leave…so as not to unduly disrupt the employer’s operations,” obtain approval for their leave

   from Frontier’s LOA Department, and adhere to Frontier’s policy for reporting absences or be

   subject to disciplinary action, including termination. See Ex. A (Arellano Decl.) at ¶ 14.

          14.     When their need is foreseeable, employees were asked to provide 30 days advance

   notice of the need to take FMLA leave and when 30 day notice was not possible, asked to provide

   notice as soon as practicable --usually the same day or day after learning of the need for leave --

   and to comply with Frontier's normal call-in procedures. See Ex. A (Arellano Decl.) at ¶ 15.

          15.     An employee who failed to provide adequate notice of an unforeseeable leave or

   failed to comply with Frontier's absence-reporting procedures could be denied leave and/or

   subject to appropriate disciplinary action, up to and including termination of employment. See

   Ex. A (Arellano Decl.) at ¶ 16.




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          B.         PLAINTIFF’S EMPLOYMENT & ATTENDANCE ISSUES

          16.        Plaintiff began her employment with Frontier as a flight attendant in 2007. See

   Dkt. No. 1 at ¶ 1.

          17.        Shortly after commencing her employment with Frontier, Plaintiff began

   demonstrating a pattern of attendance issues to which Frontier responded as follows:

                          i.   November 17, 2008: coaching and counseling.
                         ii.   December 29, 2008: coaching and counseling.
                        iii.   February 16, 2009: coaching and counseling.
                        iv.    October 21, 2009: coaching and counseling.
                         v.    January 12, 2010: coaching and counseling.
                        vi.    March 29, 2012: written warning.
                       vii.    July 3, 2013: documented verbal warning.
                      viii.    September 3, 2013: written warning.
                        ix.    September 28, 2013: final warning.
                         x.    October 18, 2013: final warning.
                        xi.    March 6, 2015: documented verbal warning.
                       xii.    March 12, 2015: written warning.
                      xiii.    March 16, 2015: written warning.
                       xiv.    May 12, 2015: written warning.
                        xv.    May 26, 2015: final warning.
                       xvi.    July 3, 2015: final warning.
                      xvii.    August 7, 2015: final warning.
                     xviii.    November 3, 2015: investigatory meeting.
                       xix.    November 11, 2015: termination.

   See Ex. A (Arellano Decl.) at ¶¶ 17-18; see also, Excerpts from Pl.’s Dep. Tr., attached as Exhibit

   B at 45:10-48:9.

          C.         PLAINTIFF SELF-DISCLOSES ALCOHOLISM.

          18.        On or around September 7, 2014, Plaintiff disclosed to Frontier that she had

   entered an inpatient rehabilitation program for alcoholism. See Dkt. No. 1 at ¶ 4; Ex. A (Arellano

   Decl.) at ¶ 19.




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          19.     Frontier granted Plaintiff continuous FMLA Leave to complete the sixty (60) day

   inpatient program. See Ex. A (Arellano Decl.) at ¶¶ 20-21; see also, Ex. B (Pl.’s Dep. Tr.) at

   64:1-8; 65:10-12.

          20.     After completing the in-patient program in October, Plaintiff was cleared to return

   to work without restrictions by her healthcare provider. See Ex. A (Arellano Decl.) at ¶¶ 22-23.

          21.     Despite her entry into a rehabilitation program, Plaintiff’s alcoholism never

   substantially limited her ability to perform her job as a flight attendant. See Ex. B (Pl.’s Dep. Tr.)

   at 67:20-68:4; Tr. 68:17-20; 70:23-71:5.

          22.     Since September 5, 2014 (Plaintiff’s “sobriety date”) through the end of her

   employment with Frontier, Plaintiff was always able to perform the essential functions of her job

   as a flight attendant while on duty. See Ex. B (Pl.’s Dep. Tr.) at 67:20-68:4; Tr. 68:17-20; 70:2-

   12; 70:21-71:5.

          23.     Since September 5, 2014, Plaintiff has been sober and alcoholism has not impacted

   her daily life activities or inhibited her ability to function. See Ex. B (Pl.’s Dep. Tr.) at 67:5;

   69:16:20; 70:21-71:5.

          D.      PLAINTIFF’S REQUEST FOR AN ADDITIONAL ACCOMMODATION

          24.     Not long after her return to Frontier, Plaintiff began calling out as “sick,” incurring

   Occurrences under the Dependability Policy. See Ex. A (Arellano Decl.) at ¶ 24.

          25.     A few days after receiving a written warning from Frontier, Plaintiff obtained

   paperwork from her medical care provider for purposes of certifying her for Intermittent FMLA

   Leave for four (4) days per month. See Ex. A (Arellano Decl.) at ¶¶ 25-26.

          26.     Plaintiff, however, continued to call out “sick” after exceeding the number of

   authorized Intermittent FMLA Leave days per month and failed to abide by the two (2) hours



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   minimum notice requirement. See Ex. A (Arellano Decl.) at ¶ 27; Ex. B (Pl.’s Dep. Tr.) at 42:21-

   23; 43:21-24; 45:10-48:9; 180:13-16.

          27.     On June 4, 2015, Plaintiff met with Cassie Micklich, Drug & Alcohol Specialist,

   Frontier, and Gerardo (“Jerry”) Arellano, Sr. Employee/Labor Relations Manager/Special

   Projects, Frontier, to discuss her continued exhaustion of Intermittent FMLA, which Plaintiff

   recorded. See Ex. A (Arellano Decl.) at ¶¶ 29-31; Ex. B (Pl.’s Dep. Tr.) at 161:8-25.

          28.     Plaintiff asked if Frontier could adjust her flight schedule so that she could avoid

   flights with layovers, including overnight layovers, which she said tempted her to drink and

   therefore, jeopardized her sobriety. See Ex. A (Arellano Decl.) at ¶ 32.

          29.     Mr. Arellano indicated that Frontier wanted to support Plaintiff, but could not adjust

   Plaintiff’s schedule to avoid flights with layovers or allow her to create her own schedule because

   doing so would violate the CBA. See Ex. A (Arellano Decl.) at ¶ 33.

          30.     Union representative, Adrienne Prince, confirmed that it would not have authorized

   Frontier to grant Plaintiff’s requested accommodation because doing so would have violated the

   CBA. See Excerpts from Prince Dep. Tr., attached as Exhibit C at 58:17-59:7.

          31.     Further, allowing Plaintiff to build her own schedule from Open Time would

   necessarily penalize other flight attendants, regardless of seniority, by taking away alternative

   and/or additional flight opportunities from other flight attendants looking to modify their

   schedules. See Ex. A (Arellano Decl.) at ¶ 39.

          32.     Mr. Arellano told Plaintiff that she could apply for other accommodations,

   including a personal leave or non-FMLA leave or explore other positions with the company. See

   Ex. A (Arellano Decl.) at ¶ 40.




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         33.     Plaintiff did not want to apply for any continuous personal or non-FMLA leave

  because she was concerned the leaves would be unpaid and therefore, did not apply for those

  leaves. See Ex. B (Pl.’s Dep. Tr.) at 64:1-65:7.

         34.     Plaintiff did not want to transfer internally within Frontier because she preferred

  being a flight attendant and did not want to relocate and/or give up her seniority rights in exchange

  for a new position. See Ex. A (Arellano Decl.) at ¶ 41; Ex. B (Pl.’s Dep. Tr.) at 75:19-23.

         35.     Ms. Micklich directed Plaintiff to review the sections of the CBA addressing

  seniority to the extent she would consider transferring internally within Frontier, but was

  concerned about losing seniority. See Email from Ms. Micklich to Ms. Brigham dated June 4,

  2015, attached as Exhibit D; Ex. B (Pl.’s Dep. Tr.) at 167:2-168:6.

         36.     Plaintiff did not consult the CBA for purposes of determining whether an internal

  transfer would actually negatively impact her seniority, but had she, she would have learned that

  if she were to transfer to a position within the Inflight Services Department, she would have

  retained and continued to accrue seniority for a period of two (2) years such that if she transferred

  back to a flight attendant position within that two (2) year period, she would have had her seniority

  reinstated as if she had never transferred. See Ex. B (Pl.’s Dep. Tr.) at 170:1-25; Ex. A (Arellano

  Decl.) at Ex. 3 (CBA) at FRONTIER AIRLINES (R. BRIGHAM) – 0000915-16.

         37.     Plaintiff also asked whether she could temporarily work at the General Office

  (“GO”) doing administrative work without losing her seniority like Frontier employees on On-the-

  Job (“OJI”) Leave were permitted to do. See Ex. A (Arellano Decl.) at ¶ 42. The CBA included a

  collectively-bargained for OJI provision, allowing Frontier the discretion to provide flight

  attendants injured on the job – but only flight attendants injured on the job – with temporary light

  duty assignments in the GO. See Ex. A (Arellano Decl.) at ¶ 43. These assignments were not open



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  job positions. See Ex. A (Arellano Decl.) at ¶ 43. Rather, when a flight attendant injured on the

  job was temporarily unable to work, he or she would be permitted to help others in the GO with

  their own light-duty responsibilities. See Ex. A (Arellano Decl.) at ¶ 43.

         38.     Consistent with the CBA, work at the GO was only provided as an accommodation

  to flight attendants in Frontier’s OJI program. See Ex. A (Arellano Decl.) at ¶ 44; see also, Ex. D

  (Email from Ms. Micklich to Ms. Brigham dated June 4, 2015); Ex. B (Pl.’s Dep. Tr.) at 79:14-

  16; 167:2-168:6

         39.     In addition, Plaintiff did not know when or if she would be ever able to handle

  layovers again. See Ex. B (Pl.’s Dep. Tr.) at 76:19-77:22.

         40.     Shortly after the June 4, 2015 meeting, Plaintiff submitted a revised Intermittent

  FMLA Certification Form, increasing the number of authorized Intermittent FMLA Leave from

  four (4) days per month twelve (12). See Ex. A (Arellano Decl.) at ¶¶ 45-46.

         41.     Plaintiff, however, continued to exhaust her Intermittent FMLA Leave and incurred

  Occurrences for calling out “sick.” See Ex. A (Arellano Decl.) at ¶¶ 47-48.

         42.     On October 9, 2015, Plaintiff met with Jeff Varney, Manager, Inflight Services,

  Kari Thompson, Manager, Inflight Services, and Mr. Arellano and recorded the meeting. See Ex.

  A (Arellano Decl.) at ¶¶ 49-51; Ex. B (Pl.’s Dep. Tr.) at 172:24-173:7.

         43.     Plaintiff reiterated how she loved being a flight attendant, particularly because of

  the job’s flexibility and asked whether as an accommodation, she could start with a blank schedule

  and be responsible for building her own schedule up to 60 hours. See Ex. A (Arellano Decl.) at ¶

  52.

         44.     Mr. Arellano explained that that practice was reserved for flight attendants

  returning from continuous leaves of absence who had not been active flight attendants during the



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  bidding period the month they returned from leave and therefore, could not have bid and that

  allowing Plaintiff to craft her own schedule would violate the CBA’s seniority provisions, creating

  the impression that Frontier was “cherry-picking” flight attendants to have the benefit of building

  their own schedules without regard to seniority. See Ex. A (Arellano Decl.) at ¶ 53.

         45.      Ms. Thompson echoed Mr. Arellano stating, “there is a lot of people that would

  like to start with a clean slate for the month. And build their schedule – right?” See Ex. A (Arellano

  Decl.) at ¶ 54; see also, Ex. A (Arellano Decl.), Ex. 13 (Pl.’s transcription of recorded meeting on

  Oct. 9, 2015) at BRIGHAM LM 00000035.

         46.     At this point, Frontier had already been allowing Plaintiff to use Intermittent FMLA

  for purposes other than those included in her certifications (i.e. relapse prevention counseling and

  support group meetings) by allowing her to use Intermittent FMLA Leave to avoid flights with

  overnight layovers. See Ex. A (Arellano Decl.) at ¶¶ 55-56; Ex. B (Pl.’s Dep. Tr.) at 161:3-6.

         47.     Mr. Arellano emphasized to Plaintiff that ultimately, Frontier needed “employees

  who can come to work,” but reminded Plaintiff that she could apply for a personal leave as a further

  accommodation, additional Intermittent FMLA Leave, and/or for another internal position within

  the company. See Ex. A (Arellano Decl.) at ¶ 57.

         48.     Mr. Arellano notified Plaintiff that a Flight Training Coordinator position was

  coming available, but Plaintiff repeated her concerns about losing her seniority. See Ex. A

  (Arellano Decl.) at ¶ 58.

         49.     Ms. Thompson encouraged Plaintiff to check for other internal opportunities on the

  company’s internal Ultipro system on a weekly basis. See Ex. A (Arellano Decl.) at ¶ 59; see also,

  Ex. A (Arellano Decl.), Ex. 13 (Pl.’s transcription of recorded meeting on October 9, 2015) at

  BRIGHAM LM 00000020.



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         50.      While Plaintiff “occasionally” looked at internal opportunities posted online, she

  had no intention of actually applying for any other position (other than potentially a work-from-

  home position) because she wanted to remain a flight attendant. See Ex. B (Pl.’s Dep. Tr.) at 175:2-

  178:14.

         51.     Less than ten (10) days after the October 9, 2015 meeting, Plaintiff failed to report

  for a four (4) day trip. See Ex. A (Arellano Decl.) at ¶¶ 60-61; Ex. B (Pl.’s Dep. Tr.) at 179:24-

  180:16.

         52.     Plaintiff failed to contact the LOA Department for approval to use Intermittent

  FMLA Leave for the four (4) day trip until the day following the first day of the trip in violation

  of Frontier policy. See Ex. A (Arellano Decl.) at ¶¶ 60-61; Ex. A (Arellano Decl.), Ex. 11 (Pl.’s

  leave file) at FRONTIER AIRLINES (R. BRIGHAM) – 0004882; Ex. B (Pl.’s Dep. Tr.) at 179:24-

  180:16.

         53.     Frontier’s LOA Department denied Plaintiff’s request to use Intermittent FMLA

  Leave for the four (4) day trip for her lack of timely notice. See Ex. A (Arellano Decl.) at ¶¶ 63-

  64.

         54.     On October 30, 2015, Frontier sent Plaintiff a letter indicating that pursuant to the

  CBA, an Investigatory Meeting had been scheduled for November 3 for Plaintiff to attend to

  discuss her violations of the Dependability Policy. See Ex. A (Arellano Decl.) at ¶ 65.

         55.     On November 3, 2015, Plaintiff, Stephanie Coppedge, Supervisor of Inflight

  Services, Frontier, Andrea Warfield, Sr. Human Resource Manager, Frontier, and union

  representative, Adrienne Prince met to discuss Plaintiff’s violations of the Dependability Policy,

  which Plaintiff recorded. See Ex. B (Pl.’s Dep. Tr.) at182:1-9; 182:23-183:7; Pl. Dep. Ex. 44,

  attached as Exhibit E; Ex. B (Pl.’s Dep. Tr.) at 112:21-23.



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         56.     During that meeting Plaintiff admitted that she had forgotten to email Frontier’s

  LOA Department immediately regarding her decision to call out “sick” for the four (4) day trip

  beginning October 23, 2015 as required by company policy. See Ex. E (Pl. Dep. Ex. 44) at

  BRIGHAM LM 00000040-41; Ex. C (Ms. Prince’s Dep. Tr.) at 60:14-65:22.

         57.     Plaintiff also reiterated that she needed to avoid flights with layovers, which

  tempted her to drink and therefore, jeopardized her recovery. See Ex. E (Pl. Dep. Ex. 44) at

  BRIGHAM LM 00000045.

         58.     During the meeting, Plaintiff stated, “There was not one single layover that I did

  not drink. It was just what you did…I had never stepped on an airplane drunk luckily but that could

  have been my next step.” Ex. E (Pl. Dep. Ex. 44) at BRIGHAM LM 00000045.

         59.     Plaintiff also reiterated her request to remove her from overnights or allow her to

  build her own schedule out of Open Time. See Ex. E (Pl. Dep. Ex. 44) at BRIGHAM LM

  00000045; Pl. Dep. Ex. 20, attached as Exhibit F; Ex. B (Pl.’s Dep. Tr.) at 112:11-25.

         60.     However, pursuant to the CBA, active Frontier flight attendants, including Plaintiff,

  were required to bid for purposes of determining their flight schedules. See Ex. A (Arellano Decl.)

  at ¶ 35; Ex. C (Prince Dep. Tr.) at 20:1-21:3; Excerpts from Arellano Dep. Tr., attached as Exhibit

  G at 121:2-6; 124:7-9; 124:16-19; 205:8-20; Ex. B (Pl.’s Dep. Tr.) at 80:16-18.

         61.     Therefore, allowing Plaintiff, an active Frontier flight attendant, to be excused from

  bidding and build her own schedule would have violated the CBA. See Ex. C (Prince Dep. Tr.) at

  58:17-24; see also, Ex. A (Arellano Decl.) at ¶ 35.

         62.     Similarly, removing Plaintiff from flights with long layovers and/or overnight

  layovers would also have violated the CBA. See Ex. C (Prince Dep. Tr.) at 58:25-59:4; see also,

  Ex. A (Arellano Decl.) at ¶ 35.



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         63.       Frontier had never allowed any active Frontier flight attendant to build their own

  schedule as Plaintiff was requesting. See Ex. A (Arellano Decl.) at ¶ 38; Ex. C (Prince Dep. Tr.)

  at 20:15-21:3.

         64.       On November 11, 2015, Frontier informed Plaintiff that it was terminating her

  employment effective immediately for incurring ten (10) Occurrences within a twelve (12) month

  period in violation of the Dependability Policy under which eight (8) Occurrences subjected an

  employee to termination. See Ex. A (Arellano Decl.) at ¶¶ 67-68.

         65.       Plaintiff does not dispute that she was absent on more than eight (8) occasions

  within the twelve (12) month period preceding her discharge. See Ex. B (Pl.’s Dep. Tr.) at 40:5-

  10; 41:21-42:7.

         66.       Plaintiff did not look for any flight attendant positions after her separation from

  employment with Frontier because she would have lost seniority and therefore, started out as a

  reserve—a position which would have required her to cover flights with layovers. See Ex. B (Pl.’s

  Dep. Tr.) at 54:16-55:5.

  III.   STANDARD OF REVIEW

         Summary judgment is appropriate where the “pleadings, depositions, answers to

  interrogatories, admissions on file, or affidavits [show] that there is no genuine issue as to any

  material fact.” See Zoutomou v. Copper, 550 F. App’x 647, 650 (10th Cir. 2013) (citing FED. R.

  CIV. P. 56(c)). “Whether there is a genuine dispute as to a material fact depends upon whether the

  evidence presents a sufficient disagreement to require submission to a jury or conversely, is so

  one-sided that one party must prevail as a matter of law.” E.E.O.C. v. Western Trading Co., Inc.,

  No. 10–cv–02387–WJM–MEH, 2012 WL 1460025 at *1 (D. Colo. April 27, 2012), citing

  Anderson v. Liberty Lobby, 477 U.S. 242, 248–49 (1986). “A fact is ‘material’ if it pertains to an



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  element of a claim or defense; a factual dispute is ‘genuine’ if the evidence is so contradictory that

  if the matter went to trial, a reasonable party could return a verdict for either party.” Western

  Trading Co., 2012 WL 1460025 at *1, citing Anderson, 477 U.S. at 248.

         “The burden of showing that no genuine issue of material fact exists is borne by the moving

  party” and the Court must resolve factual ambiguities against the moving party. E.E.O.C. v.

  Horizon/CMS Healthcare Corp., 220 F.3d 1184, 1190 (10th Cir. 2000). However, conclusory

  allegations or testimony will not establish an issue of fact sufficient to defeat summary judgment

  and the moving party may meet its summary judgment burden by merely “point[ing] to an absence

  of evidence to support the non-movant’s claim.” Arabalo v. City of Denver, 625 F. App’x 851,

  861 (10th Cir. 2015) (internal alterations, quotations and citations omitted).

  IV.    LEGAL ARGUMENT

         A.      Defendant is Entitled to Summary Judgment on Plaintiff’s Claim for Failure
                 to Engage in the Interactive Process (Count II).

         Frontier is entitled to summary judgment on Plaintiff’s claim for failure to engage in the

  interactive process as a matter of law because the Tenth Circuit has expressly held that the failure

  to engage in the interactive process is not independently actionable under the ADA. See Valdez v.

  McGill, 462 Fed. Appx. 814, 819 (10th Cir. 2012) (affirming the trial court’s decision to grant the

  defendant’s motion for summary judgment on the plaintiff’s claim for failure to engage in the

  interactive accommodation process on the grounds that such failure “is not actionable

  discrimination” under the ADA, explaining “The interactive process ensures a reasonable

  accommodation is identified, if one is available”…An employer “is not required to engage an

  employee in a futile interactive process where…no reasonable accommodation was possible.”);

  see also, McBride v. BIC Consumer Prods., 583 F.3d 92, 101 (2d Cir. 2009) (“[A]n employer's




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  failure to engage in a sufficient interactive process does not form the basis of a claim under the

  ADA.”).

          B.      Defendant is Entitled to Summary Judgment on Plaintiff’s Claim for
                  Discrimination in Violation of the ADA (Count IV).

          In the absence of direct evidence of discrimination, the court applies the McDonnell

  Douglas burden-shifting framework to claims under the ADA. Williams v. FedEx Corp. Servs.,

  849 F.3d 889 (10th Cir. 2017). Under McDonnell Douglas's three-part analysis, a plaintiff must

  first establish a prime facie case of ADA discrimination by proving “(1) he is disabled (or

  perceived as disabled) as defined by the ADA, (2) he is qualified to perform the essential

  functions of his job with or without reasonable accommodation, and (3) he suffered

  discrimination as a result of his disability.” Williams, 849 F.3d at 896; see also, Nagle v. Mink,

  No. 10-CV-01935-PAB- MEH, 2012 WL 3150520, at *4 (D. Colo. Aug. 2, 2012) (emphasis

  added). If the plaintiff establishes a prima facie case, “the burden shifts to the defendant to

  articulate a legitimate, nondiscriminatory reason for its actions.” Id. If the defendant does so, “the

  burden shifts back to the plaintiff to show that the defendant's stated reasons are merely

  ‘pretextual.’ ” Id.

          A person is “disabled” under the ADA only if they suffer from “a physical or mental

  impairment that substantially limits one or more major life activities.” 42 U.S.C. § 12102(1)(A).

  Allen v. SouthCrest Hosp., 455 F. App'x 827, 831 (10th Cir. 2011), quoting Berry v. T– Mobile

  USA, Inc., 490 F.3d 1211, 1216 (10th Cir. 2007) (internal quotation marks omitted) (emphasis

  added). “For a physical or mental impairment to be “substantially limiting” the individual must

  be: ‘(i) Unable to perform a major life activity that the average person in the general population

  can perform; or (ii) Significantly restricted as to the condition, manner or duration under which

  [the] individual can perform a particular major life activity as compared to the condition, manner,

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  or duration under which the average person in the general population can perform that same

  major life activity.’” Burris v. Novartis Animal Health U.S., Inc., 309 F. App'x 241, 250 (10th

  Cir. 2009), citing Nielsen v. Moroni Feed Co., 162 F.3d 604, 611 n. 11 (10th Cir. 1998), quoting

  29 C.F.R. § 1630.2(j)(1)). Major life activities “include, but are not limited to, caring for oneself,

  performing manual tasks, seeing, hearing, eating, sleeping, walking, standing, lifting, bending,

  speaking, breathing, learning, reading, concentrating, thinking, communicating, and working.”

  42 U.S.C. § 12102(2). “Not all impairments are serious enough to be considered disabilities under

  the statute” and therefore, whether an individual’s “impairment substantially limits a major life

  activity requires an individualized assessment.” Moore, 2020 WL 972711, at *4, quoting 29

  C.F.R. § 1630.2(j)(1)(i) & (iv).

                 1.      Plaintiff Did Not Have A Qualifying Disability.

         “[T]here is no per se rule that categorizes recovering alcoholics ... as disabled” and “mere

  status as an alcoholic or substance abuser does not necessarily imply [the requisite] ‘limitation’

  [for a disability determination].” Kitchen v. BASF, 343 F. Supp. 3d 681, 688–89 (S.D. Tex. 2018),

  report and recommendation adopted, No. 3:17-CV-00040, 2018 WL 5723147 (S.D. Tex. Nov. 1,

  2018), aff'd, 952 F.3d 247 (5th Cir. 2020). Instead, a case-by-case evaluation is necessary “to

  determine whether a particular plaintiff, who is a recovering alcoholic, qualifies as disabled,

  because of his addiction.” Id., quoting Radick v. Union Pac. Corp., No. 4:14-CV-02075, 2016 WL

  639126, at *5 (S.D. Texas Jan. 25, 2016).

         Courts, including the Tenth Circuit, have granted summary judgment where a recovering

  alcoholic has failed to produce evidence demonstrating that their alcoholism substantially limited

  their ability to perform a major life activity. For example, in Burris v. Novartis Animal Health

  U.S., Inc., the Tenth Circuit affirmed the trial court’s decision to grant summary judgment for the



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  defendant on the plaintiff’s ADA discrimination claim on the grounds that the plaintiff’s testimony

  that his alcoholism limited his “ability to take care of himself on a daily basis,” required him to

  “exclude himself from daily situations that are healthy for a non-alcoholic,” but which could

  trigger him to relapse, and required him to attend AA meetings was insufficient for purposes of

  demonstrating that his alcoholism substantially limited one or more of his major life activities.

  249. 309 F. App'x 241, 251 (10th Cir. 2009). Instead, the Court found that the plaintiff’s additional

  testimony that his alcoholism did not have anything to do with a peak or valley in his sales numbers

  or impair his ability to go to work, that he could perform his job functions before he decided to

  seek treatment and had been successful as a salesman even before seeking treatment, and that “as

  long as he continued with his AA meetings he could function ‘somewhat normally’ at work and

  as a father” demonstrated that the plaintiff’s condition was not substantially limiting. Id. at 250.

         Similarly, in Burch v. Coca-Cola Co., the Fifth Circuit found the plaintiff’s testimony that

  he drank heavily during his off hours, experiencing hangover-like symptoms at work, and that his

  ability to walk, talk, think, and sleep were affected when he drank too much insufficient for

  purposes of demonstrating that his alcoholism, even untreated, substantially limited any major life

  activity. 119 F.3d 305, 322 (5th Cir. 1997). The Court reasoned that the plaintiff had testified that

  he never drank during work hours and that his inebriation was only temporarily incapacitating

  and therefore, no different from an overindulging social drinker. Id. at 316. According to the Court,

  “in both situations, the natural result of overindulgence is the temporary impairment of senses,

  dulled reactions, and the prospect of a restless sleep followed by an unpleasant morning. Although

  Burch’s alcoholism assuredly affected how he lived and worked, ‘far more is required to trigger

  coverage under § 12102(2)(A).’” Id. (emphasis added) (quoting Ellison v. Software Spectrum, 85

  F.3d 187, 191 (5th Cir. 1996) (emphasis added; see also, Moore v. Centralized Mgmt. Servs., LLC,



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  No. 19-1592, 2020 WL 972711, at *4 (E.D. La. Feb. 28, 2020) (“episodic relapse” or an

  “occasional manifestation” of alcoholism did not satisfy the permanency requirement to constitute

  a substantially limiting impairment under the ADA.)

                         i.      Plaintiff Concedes That Her Alcoholism Was Not Substantially
                                 Limiting After September 5, 2014.

          During her deposition, Plaintiff testified unequivocally that her alcoholism has not

  substantially limited her ability to perform a major life activity since September 5, 2014. See

  SOMF at ¶ 21. Given that Plaintiff’s ADA claims all rely upon alleged conduct occurring after

  September 5, 2014, this testimony alone, is undeniably fatal to her claims.

                  2.     Plaintiff Could Not Perform Essential Functions Of Her Job As A
                         Flight Attendant With Or Without An Accommodation And
                         Therefore, Was Not A “Qualified Individual” Under The ADA.

          Even assuming that Plaintiff was disabled at the time of the alleged misconduct (which

  she was not), Defendant is still entitled to summary judgment because Plaintiff has not and cannot

  demonstrate that she was otherwise qualified to perform the essential functions of her job as a

  flight attendant.

          A “qualified individual with a disability” is “an individual with a disability who, with or

  without reasonable accommodation, can perform essential functions of the employment

  position held or desired.” Mason v. Avaya Commc'ns, Inc., 357 F.3d 1114, 1119 (10th Cir. 2004)

  (emphasis added). “Essential functions” are “the fundamental job duties of the employment

  position.” 29 C.F.R. § 1630.2(n)(1). Evidence considered in determining whether a particular

  function is essential includes: (1) the employer's judgment as to which functions are essential;

  (2) written job descriptions prepared before advertising or interviewing applicants for the job; (3)

  the amount of time spent on the job performing the function; (4) the consequences of not

  requiring the incumbent to perform the function; and (5) the work experience of past incumbents

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  in the job. 29 C.F.R. § 1630.2(n)(3); see also Wells v. Shalala, 228 F.3d 1137, 1144 (10th Cir.

  2000).

                           i.         Plaintiff Does Not Dispute That Layovers Were An Essential
                                      Function Of Plaintiff’s Position As A Flight Attendant.

           It is undisputed that covering flights requiring layovers was an essential function of her

  position as a flight attendant. See SOMF at ¶ 1. According to Plaintiff, however, layovers

  jeopardized her sobriety and therefore, to do her job as a flight attendant, she needed to be

  excused from them as an accommodation. See SOMF at ¶ 28, 57. Plaintiff’s admitted inability

  to do her job without an accommodation that would remove an essential function of that job

  disqualifies her for protection under the ADA as a matter of law. See Gardenhire v. Manville,

  722 Fed. Appx. 835, 839 (10th Cir. 2018) (An employee's request to be relieved from an essential

  function     of    his        position   is   not,   as   a   matter   of   law,   a reasonable or

  even plausible accommodation.”); see also, Ruiz v. Woodward, Inc., No. 17-CV-03046-MSK-

  KLM, 2019 WL 6893039, at *8 (D. Colo. Dec. 18, 2019) (“The 10th Circuit has repeatedly made

  clear that a proposed accommodation that reallocates or removes essential functions from an

  employee's job is not, as a matter of law, a “reasonable” accommodation”).

           Further, inherent in all flights is the risk of experiencing inclement weather and/or

  mechanical issues, which could require a layover. Therefore, even if the accommodation Plaintiff

  requested was reasonable and all flights with layovers were removed from Plaintiff’s flight

  schedule, given that flight schedules are inevitably impacted by inclement weather and airplane

  mechanical issues, Frontier could never have guaranteed that Plaintiff would never be required

  to handle a flight with a layover. Therefore, given Plaintiff’s testimony that she could not handle

  flights with layovers and maintain her sobriety, Plaintiff’s request, would not have enabled her

  to perform the essential functions of her job as a flight attendant, precluding her ability to

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  demonstrate that she was a “qualified individual with a disability” for purposes of the ADA as a

  matter of law. See e.g., US Airways, Inc. v. Barnett, 535 U.S. 391, 400, 122 S. Ct. 1516, 1522,

  152 L. Ed. 2d 589 (2002) (“An ineffective ‘modification’ or ‘adjustment’ will not accommodate

  a disabled individual's limitations.”); Santiago v. Executive Airlines, 41 F. Supp. 2d (D. Puerto

  Rico 1999) (plaintiff’s demand for an accommodation allowing her only to fly in aircrafts with

  pressurized cabins “was not viable” because “unforeseen circumstances may force last minute

  changes from a scheduled pressurized flight for an unpressurized one which requires that

  assigned crews be qualified to work in both”). Therefore, Plaintiff cannot demonstrate that she is

  a qualified individual with a disability under the ADA as a matter of law.

                       ii.       Plaintiff Does Not Dispute That Compliance With Frontier’s
                                 Attendance Policy And Protocols Was An Essential Function
                                 Of Frontier’s Flight Attendant Position.

         “[P]hysical attendance in the workplace is itself an essential function of most jobs” and

  therefore, an employee who is unable to satisfy an employer’s attendance expectations or comply

  with its attendance policy—even due to a disability—is not a “qualified individual” for purposes

  of ADA protection. Mason v. Avaya Comms., Inc., 357 F.3d 1114, 119 (10th Cir. 2004) (internal

  citations and quotations omitted); Boileau v. Capital Bank Fin. Corp., No. 15-5820, 2016 WL

  1622349, at *4 (6th Cir. Apr. 25, 2016) (plaintiff was not qualified for her position because she

  could not meet the attendance requirement); Banks v. Bosch Rexroth Corp., 610 Fed.Appx. 519,

  528 (6th Cir. 2015) (“inability to satisfy basic attendance requirements and excessive absenteeism

  are bases for finding that a particular disabled individual is not a qualified individual with respect

  to the ADA's framework”); see also, Steele v. Stallion Rockies Ltd, 106 F. Supp. 3d 1205, 1212

  (D. Colo. 2015) (“antidiscrimination law does not extend so far as to shield a disabled employee

  from the implementation of his employer's standard policies against employee misconduct.”)



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  (internal citations and quotations omitted); Dennis v. Fitzsimons, No. 18-CV-0128-MSK-STV,

  2019 WL 4201476, at *4 (D. Colo. Sept. 5, 2019) (“unsatisfactory conduct caused by

  alcoholism…does not receive protection under the ADA…”) (emphasis added); Williams v.

  Widnall, 79 F.3d 1003, 1007 (10th Cir. 1996) (Employers are not required to accept egregious

  behavior by an alcoholic employee when that same behavior, exhibited by a nondisabled

  employee, would require termination.); Moore, 2020 WL 972711, at *6 (“The ADA explicitly

  allows an employer to ‘hold an employee who ... is an alcoholic to the same qualification

  standards for employment or job performance and behavior that such entity holds other

  employees, even if any unsatisfactory performance or behavior is related to the ... alcoholism

  of such employee’ ”) (emphasis added), citing 42 U.S.C. § 12114(c)(2), (4).

         Courts have not hesitated to dismiss ADA claims where a plaintiff’s irregular attendance

  compromised essential job functions, even when the attendance issues stemmed from a disability.

  See Dennis v. Fitzsimons, No. 18-cv-0128, 2019 WL 4201476 (D. Colo. Sept. 5, 2019)

  (“unsatisfactory conduct caused by alcoholism…does not receive protection under the ADA…”);

  Shim v. United Air Lines, Inc., No. CIV. 11-00162 JMS, 2012 WL 6742529, at *8 (D. Haw. Dec.

  13, 2012) (“Both before and since the passage of the ADA, a majority of circuits have endorsed

  the proposition that in those jobs where performance requires attendance at the job, irregular

  attendance compromises essential job functions.”) (internal citation and quotation omitted).

         For example, in Vandenbroek v. PSEG Power, CT LLC, the Second Circuit affirmed the

  trial court’s decision to grant the defendant’s motion for summary judgment on the grounds that

  the plaintiff had failed to adduce sufficient evidence to permit a jury to find that he was

  “otherwise qualified” to perform his job as a boiler utility operator where the plaintiff had

  repeatedly violated the defendant’s “no call/no show” policy despite the fact that his absenteeism



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  was the result of his alcoholism. 356 F. App'x 457, 461 (2d Cir. 2009). The court reasoned that

  “absenteeism resulting from alcoholism is a factor that bears on whether an employee is

  ‘otherwise qualified’ ” and given that “employees in the boiler utility operator position had to be

  present to monitor the boiler and respond to any alarms,…[r]eliable employee attendance was

  essential to ensuring against a power outage or even an explosion.” Id. at 459-60. The court also

  observed that the importance of reliable employee attendance was reflected in the “no call/no

  show” policy itself, which stated that even after a first offense, an employee could be discharged.

  Id.

          Similarly, in Stephens v. ExpressJet Airlines, Inc. the court held that the plaintiff was not

  a “qualified individual” for purposes of performing her job as a flight attendant where she could

  not work longer than twenty-four (24) to forty-eight (48) consecutive hours of travel given her

  mental health conditions, which included anxiety. No. 4:16-CV-0890, 2018 WL 8459309, at *6

  (S.D. Tex. May 4, 2018). The court explained that the defendant had established that “regular

  attendance for a full schedule” was an “essential function” of the plaintiff's position as a flight

  attendant, particularly given the airline industry’s complicated scheduling systems, which

  largely depend upon customer demand, seasonal travel, aircraft maintenance, and weather.

  Id. at *6. In support, the court pointed to (i) the defendant’s flight attendant job description, which

  included an ability to withstand a work environment that may include “rotating schedule with

  variable hours that could include up to 16-hour duty days, holidays, and weekends,” (ii) the

  defendant’s flight attendant handbook which required that absent flight attendants make call-outs

  no less than two hours before their scheduled duty-in, (iii) the flight attendants’ collective

  bargaining agreement, which required flight attendants “be available for a full schedule” and

  while not defining “full schedule,” provided that trips may be scheduled for six consecutive days



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  of travel, and (iv) the seniority-based bidding system under which the defendant did not

  customize trips for any flight attendants or control what trips an active flight attendant bids on.

  Id.

         Here, it is undisputed that regular attendance for a full flight schedule, including flights

  with layovers, was an essential function of Plaintiff’s job as a Frontier flight attendant. It is also

  undisputed that Plaintiff refused to work flights with layovers, calling in “sick” and/or using her

  Intermittent FMLA Leave to avoid them. As a result, Plaintiff admittedly exceeded the number

  of unexcused absences permitted under Frontier’s attendance policy. Therefore, as demonstrated

  by Stephens and Vanderbroek, Plaintiff’s refusal to work a full schedule as a flight attendant,

  which necessarily included flights with layovers, and therefore, admitted inability to abide by

  Frontier’s attendance policy is fatal to her ADA claims. See Id. at *9 (an employee who is unable

  to satisfy an employer’s attendance expectations or comply with its attendance policy—even due

  to a disability—is not a “qualified individual” for purposes of ADA protection).

                       iii.      Plaintiff Rejected Reasonable Alternative Accommodations.

         Even assuming, arguendo, that Plaintiff could somehow demonstrate that she is a qualified

  individual with a disability under the ADA, Plaintiff lost that status and disqualified herself from

  the protection offered by the ADA as a matter of law when she rejected alternative reasonable

  accommodations proposed by Frontier. See, e.g., Kuehl v. Wal-Mart Stores, Inc., 909 F. Supp. 794,

  803 (D. Colo. 1995) (holding employee lost any status she may have had under the ADA as a

  qualified individual with a disability by rejecting reasonable alternative accommodations offered

  by her employer).

         Plaintiff did not want to sacrifice her compensation by taking an unpaid leave and did not

  want to transfer to another position because she enjoyed the flexibility of being a flight attendant



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  (and was clearly, trying to get more of it). Plaintiff was also concerned that if she transferred to

  another position within the company, she would lose her seniority, which would be

  disadvantageous if she intended to return to her position as a flight attendant. Plaintiff’s concern,

  however, was unfounded. Pursuant to the express terms of the CBA, which Plaintiff’s supervisor

  identified for her, Plaintiff would have maintained and continued to accrue her seniority for up to

  two (2) years if she transferred to another position within Frontier’s Inflight group. Offering no

  explanation, Plaintiff also did not request additional Intermitted FMLA Leave prior to exhausting

  the number of days she had been approved for. Plaintiff, however, was not entitled to the most

  optimal or her preferred accommodation as a matter of law. See Equal Employment Opportunity

  Comm'n v. JBS USA, LLC, 339 F. Supp. 3d 1135, 1178 (D. Colo. 2018), reconsideration

  denied, No. 10-CV-02103-PAB-KLM, 2019 WL 4778796 (D. Colo. Sept. 30, 2019) (“an

  employee     is entitled to   a   reasonable accommodation, not the accommodation that       he   or

  she prefers”) (internal citation omitted).

                 3.       No Evidence Suggests Frontier Terminated Plaintiff’s Employment
                          Because Of Her Alcoholism.

         Even assuming that the Court concludes that Plaintiff was disabled and qualified to

  perform the essential functions of her job as a flight attendant at the time of the alleged

  misconduct (which she was not), Frontier is still entitled to summary judgment because Plaintiff

  has not and cannot demonstrate that Frontier terminated her employment on the basis of her

  disability and therefore, cannot state a prima facie case for discrimination in violation of the

  ADA. See Hennagir v. Utah Dep’t of Corr., 587 F. 3d 1255, 1261 (10th Cir. 2009) (“It is not

  enough that an adverse employment action is suffered by an individual with a disability; rather,

  the disabled individual must show that the adverse action was ‘on the basis of’ the disability”)

  (emphasis added); Punt v. Kelly Servs., 862 F.3d 1040, 1048 (10th Cir. 2017).

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         Many courts, including this Court, have held that to establish a causal connection between

  a disability and adverse employment action, a plaintiff must do more than show that the

  misconduct resulting in the adverse employment action is merely related to the plaintiff’s

  disability. For example, in Kitchen v. BASF, the Fifth Circuit granted summary judgment in favor

  of the defendant on the plaintiff’s ADA claims where the plaintiff had been discharged for failing

  a breath alcohol test despite the fact that he was an alcoholic, concluding that there was no causal

  connection between the plaintiff’s discharge and the plaintiff’s alcoholism. 952 F.3d 247, 253

  (5th Cir. 2020). The court rejected the plaintiff’s argument that the fact that the plaintiff was

  discharged for failing a breath alcohol test effectively meant that he was discharged because of

  his alcoholism and instead, emphasized the fact that the evidence demonstrated that the defendant

  had a post-rehabilitation alcohol testing policy and that the plaintiff had signed a Final Written

  Warning informing him that testing positive for alcohol while at work could result in his

  termination. See also, Curry v. MillerCoors, Inc., No. 12-CV-02471-JLK, 2013 WL 4494307 (D.

  Colo. Aug. 21, 2013) (“though [the plaintiff] may never have used medical marijuana absent his

  disability, [the defendant] did not unlawfully terminate him ‘because of’ his disability” when it

  terminated the plaintiff’s employment after the employee failed a drug test, violating the

  defendant’s drug-free workplace policy).

                     i. Plaintiff Concedes That She Violated Frontier’s Attendance Policy
                        And Protocols.

         Like the employer in Kitchen, Frontier terminated Plaintiff’s employment because of her

  violation of company policy—a legitimate, non-discriminatory reason, not because she was a

  recovering alcoholic. Therefore, Plaintiff cannot demonstrate a causal connection between her

  discharge and her alcoholism for purposes of stating a prima facie case of disability

  discrimination under the ADA.

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          At the time that Frontier terminated Plaintiff’s employment, its Dependability Policy

  stated that an employee who accumulates eight (8) Occurrences of absenteeism/tardiness

  (“Dependability Occurrences”) within a rolling twelve (12) month period “will be subject to

  termination of employment with Frontier.” See SOMF at ¶ 9. Plaintiff does not dispute that she

  was in fact absent on more than eight (8) occasions within a twelve (12) month period, and that

  she failed to follow Frontier’s procedure for calling out or using intermitted FMLA. See SOMF

  at ¶ 65. Therefore, it is undisputed that Plaintiff violated the Dependability Policy as it was

  written. Even assuming that some of Plaintiff’s absences were directly related to her alcoholism

  or treatment plan, as demonstrated by the holding in Kitchen, that connection alone is insufficient

  for purposes of establishing that Frontier terminated Plaintiff’s employment on the basis of her

  alcoholism. See 42 U.S.C.A. § 12114 (expressly permitting employers to terminate employees

  for violating reasonable policies and procedures even if the “unsatisfactory performance or

  behavior is related to the drug use or alcoholism of such employee.”).

          Further, the connection between Plaintiff’s alleged disability, misconduct, and

  termination from employment is much more attenuated than that in Kitchen, further undermining

  any causal connection. Unlike in Kitchen where the plaintiff directly engaged in conduct that

  directly violated their employer’s policies to treat or cope with a disability, in this case, Plaintiff

  was refusing to show up to work in order to avoid the relapse of a condition she admits has not

  limited her ability to perform daily life activities since September 5, 2014 and never limited her

  ability to perform her job as a flight attendant. See SOMF at ¶ 21.

                  4.      Frontier Terminated Plaintiff’s Employment For Legitimate, Non-
                          Discriminatory and Non- Retaliatory Reasons That Were Not
                          Pretextual.

          Even assuming that Plaintiff produces sufficient evidence to establish a prima facie case



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  of disability discrimination under the ADA (which she cannot), the undisputed material facts

  demonstrate that Frontier terminated Plaintiff’s employment for violating its attendance policy—

  a legitimate, non-discriminatory reason—that was not pretextual and therefore, Plaintiff cannot

  sustain her burden under McDonnell Douglas.

         Only when a plaintiff demonstrates that an employer's proffered reasons are “unworthy

  of credence,” may a jury “infer the ultimate fact of discrimination” or retaliation. Smothers v.

  Solvay Chemicals, Inc., 740 F.3d 530, 546 (10th Cir. 2014), citing Swackhammer v.

  Sprint/United Mgmt. Co., 493 F.3d 1160, 1167 (10th Cir. 2007); see also, Sybrandt v. Home

  Depot, 560 F.3d 553, 561 (6th Cir. 2009) (plaintiff's burden is to demonstrate that defendant's

  decision was “so unreasonable as to be disbelieved”). “Plaintiffs may show that an employer's

  proffered reasons for an adverse employment action are pretext for discrimination if the reasons

  ‘(1) have no basis in fact; (2) did not actually motivate the action; or (3) were insufficient to

  warrant the action.’ ” Sloan v. Tate & Lyle Ingredients Americas LLC, No. 3:14-CV-406-TAV-

  HBG, 2016 WL 4179959, at *13 (E.D. Tenn. Aug. 5, 2016) (internal citations and quotations

  omitted). Evidence of pretext may include evidence the plaintiff “was treated differently from

  other similarly-situated employees who violated work rules of comparable seriousness.”

  Smothers v. Solvay Chemicals, Inc., 740 F.3d 530, 539 (10th Cir. 2014) (internal citations and

  quotations omitted).

         In Morgan v. Wells Fargo Bank, Nat. Ass'n, the court held that the plaintiff failed to

  demonstrate that the defendant’s proffered legitimate, nondiscriminatory reasons for terminating

  her were pretextual, such that a rational factfinder could find them worth of credence where the

  plaintiff’s only argument was that the defendant treated similarly situated employees differently,

  but set forth no evidence in support. No. 7:13CV137, 2014 WL 688129, at *4 (W.D. Va. Feb.



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  21, 2014). In that case, the plaintiff alleged that the defendant had violated the ADA by

  terminating her employment as a call center worker because of her alleged disability—

  alcoholism. Id. at *1. The defendant moved for summary judgment on the grounds that it

  terminated the plaintiff’s employment for a legitimate non-discriminatory and non-retaliatory

  reason—because she failed to adhere to the defendant’s mandatory attendance policy, which the

  defendant considered essential to the call center’s productivity. Id.

         After exhausting the number of days permitted under the defendant’s attendance policy

  and receiving a warning form her supervisor, the plaintiff continued to miss work ultimately

  resulting in the termination of her employment. During the termination conversation, however,

  the plaintiff told her supervisor that she was checking into a rehabilitation center for alcoholism.

  The defendant rescinded the termination and granted the plaintiff leave to seek treatment. Id. The

  company also reevaluated her absences, excusing certain absences as short-term disability leave

  and others as certified medical leave. Id. When the plaintiff returned to work, her supervisor

  indicated that she needed to contact Leave Management to establish whether any of her remaining

  absences could be excused otherwise, the plaintiff would remain in violation of the attendance

  policy and subject to termination. Id. The plaintiff contacted Leave Management and requested

  that it excuse two (2) of her absences as certified medical leave. Id. Leave Management denied

  the request because an employee qualifies for certified medical leave only after her condition

  caused her to miss five (5) consecutive workdays, but advised her to contact the Accommodations

  team to review her doctor’s note. Id. The plaintiff did not contact them and therefore, remained

  in violation of the defendant’s attendance policy. As a result, the defendant terminated her

  employment. Id.

         Granting the defendant’s motion for summary judgment on the plaintiff’s ADA claim, the



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  court noted that the plaintiff did not contest her absences, that her absences exceeded those

  permitted under the company’s attendance policy, that the plaintiff did not seek to have the

  unscheduled absences exceeding those permitted under the policy excused by the

  Accommodations team, and that the plaintiff knew the consequences of violating the company’s

  attendance policy. Id. at *3. The court also noted that while the plaintiff claimed that the

  defendant deviated from its policies and treated similarly situated employees differently, she had

  failed to marshal any evidence in support of that argument. Id. at *4.

         Here, like the plaintiff in Morgan, Plaintiff does not dispute that she was absent from

  work on eight (8) occasions, incurring ten (10) Occurrences under the Dependability Policy. See

  SOMF at ¶ 64. Plaintiff also does not dispute that incurring ten (10) Occurrences violated

  Frontier’s Dependability Policy as it was written (although she may disagree with it). In addition,

  Plaintiff does not dispute that she failed to follow the “call out” protocols set forth in the

  Employee Handbook and CBA. See SOMF at ¶¶ 26, 56. Further, like the plaintiff in Morgan,

  Plaintiff has not and cannot adduce any evidence demonstrating that Frontier treated other flight

  attendants who had violated the Dependability Policy to a similar degree as Plaintiff more

  favorably than Plaintiff or adduced any other evidence demonstrating that Frontier’s proffered

  reasons for terminating her employment—Plaintiff’s admitted violation of its attendance

  policy—is “unworthy of credence.” Accordingly, Frontier is entitled to summary judgment. See

  Arabalo, 625 F. App’x at 861 (moving party may meet its summary judgment burden by merely

  “point[ing] to an absence of evidence to support the non-movant’s claim.”).

         C.      Defendant is Entitled to Summary Judgment on Plaintiff’s Claim for
                 Failure to Accommodate Claim (Count I).

         In order to establish a prima facie case of failure to accommodate under the ADA, a

  plaintiff must demonstrate that “1) she was disabled, 2) she was otherwise qualified, 3) she

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  requested a plausibly reasonable accommodation, and 4) the [defendant] refused to accommodate

  her disability.” Aubrey v. Koppes, No. 19-1153, 2020 WL 5583649, at *5 (10th Cir. Sept. 18,

  2020).

           For the reasons set forth in Sections IV.B.1 and IV.B.2 supra, Plaintiff was not disabled

  and was not otherwise qualified to perform the essential functions of her job as a flight attendant

  with or without an accommodation and therefore, cannot state a prima facie case for failure to

  accommodate under the ADA. Even if those arguments fail, however, Plaintiff’s failure to

  accommodate claim will still fail because Frontier did accommodate Plaintiff’s alcoholism and

  because the additional accommodation Plaintiff sought was unreasonable as a matter of law.

                  1.      Frontier Reasonably Accommodated Plaintiff.

           Plaintiff’s failure to accommodate is futile because Frontier not only tried, but went to

  great lengths to actually accommodate Plaintiff’s alcoholism as best it could. Specifically, it is

  undisputed that Frontier unquestioningly approved Plaintiff’s use of FMLA Leave to complete a

  sixty (60) day in-patient rehabilitation program and over the course of more than a year,

  unquestioningly approved of her use of Intermittent FMLA Leave, allowed her to use more

  Intermittent FMLA Leave than had been certified by Plaintiff’s healthcare provider, and allowed

  her to use Intermittent FMLA Leave for purposes other than those certified by her healthcare

  provider. See SOMF at ¶ 46. Frontier not only tried, but went to great lengths to actually

  accommodate Plaintiff’s alcoholism as best it could.

                  2.      Frontier Had No Obligation Under The ADA To Excuse Plaintiff
                          From Layovers.

           “[T]he term ‘reasonable accommodation’ refers to those accommodations which

  presently, or in the near future, enable the employee to perform the essential functions of his job.”

  Aubrey, 2020 WL 5583649, at *7. According to the ADA, reasonable accommodations may

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  include:

                  (A) making existing facilities used by employees readily accessible to and
                  usable by individuals with disabilities; and

                  (B) job restructuring, part-time or modified work schedules, reassignment to a
                  vacant position, acquisition or modification of equipment or devices,
                  appropriate adjustment or modifications of examinations, training materials or
                  policies, the provision of qualified readers or interpreters, and other similar
                  accommodations for individuals with disabilities.

  Id., quoting 42 U.S.C. § 12111(9).

         The determination of whether a requested accommodation is reasonable “must be made

  on the facts of each case taking into consideration the particular individual's disability and

  employment position.” Punt v. Kelly Servs., 862 F.3d 1040, 1050–51 (10th Cir. 2017), quoting

  Mason v. Avaya Commc'ns, Inc., 357 F.3d 1114, 1123–24 (10th Cir. 2004).

                       i.      The Accommodation Plaintiff Sought Would Have Removed
                               An Essential Function Of The Flight Attendant Position.

         As discussed in Section IV.B.2 supra, the ADA does not require an employer to transfer

  any of the essential functions of a disabled employee's job in order to make reasonable

  accommodation for their disability. Coats v. Goodyear Tire & Rubber Co., No. H-01-1322, 2002

  WL 32123913, at *21 (S.D. Tex. Oct. 16, 2002). Therefore, Frontier cannot be held liable for

  denying Plaintiff’s request for an accommodation that would excuse her from flying layovers—

  a request that Frontier remove an essential function of Plaintiff’s position—as a matter of law.

  See Stephens, 2018 WL 8459309 at *6.

                      ii.      The Accommodation Plaintiff Sought Would Have Sacrificed
                               The Bona Fide Seniority Rights Of Other Flight Attendants.

         In addition, “the ADA does not require an employer to take action inconsistent with the

  contractual rights of other workers under a collective bargaining agreement.” Coats, 2002 WL

  32123913, at *21 (internal citations and quotations omitted); see US Airways, Inc., 122 S.Ct. at


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  1524 (“lower courts have unanimously found that collectively bargained seniority trumps the

  need for reasonable accommodation in the context of the linguistically similar Rehabilitation

  Act”); Eckles v. Consolidated Rail Corp. , 94 F.3d 1041, 1051 5 AD Cases 1367 (7th Cir. 1996),

  cert. denied, 520 U.S. 1146 6 ADCases 928 (1997) (“the ADA does not require disabled

  individuals to be accommodated by sacrificing the collectively bargained, bona fide seniority

  rights of other employees”); Milton, 53 F.3d at 1125. An employer's demonstration that a

  requested accommodation conflicts with seniority rules “is ordinarily sufficient to show that

  accommodation is not reasonable.” US Airways, Inc. v. Barnett, 535 U.S. 391, 122 S. Ct. 1516,

  152 L. Ed. 2d 589 (2002) (Emphasizing “the importance of seniority to employee-management

  relations,” stating “the typical seniority system provides important employee benefits by creating,

  and fulfilling, employee expectations of fair, uniform treatment,” including “job security and an

  opportunity for steady and predictable advancement based on objective standards” and includes

  “an element of due process,” limiting “unfairness in personnel decisions” and “encourage[ing]

  employees to invest in the employing company, accepting less than their value to the firm early

  in their careers” in return for greater benefits in later years”) (internal citations omitted).

          For example, in Santiago v. Executive Airlines, the court granted the defendant airline’s

  motion for summary judgment on the plaintiff flight attendant’s ADA claim where the

  accommodation sought by the plaintiff would have encroached upon “the vested rights of other

  Flight Attendants with more seniority than plaintiff,” explaining “an employer’s obligation does

  not extend to contravening rights secured by other employees through a collective bargaining

  agreement.” Id. at 135. 41 F. Supp. 2d 129, 135 (D. Puerto Rico 1999). In that case, the plaintiff

  requested to be scheduled exclusively in aircrafts with pressurized cabins due to an ear condition.

  Id. The airline denied the accommodation request and instead, reassigned her to a ramp-escort



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  position. Id. at 133. After the defendant terminated the plaintiff for excessive absences and

  violating the company’s travel policies, the plaintiff claimed that the defendant’s dismissal was

  based upon her disability and that the defendant had wrongly denied the accommodation she had

  requested. Id. The court disagreed, relying on the undisputed evidence presented by the defendant

  that given the limited number of airplanes with pressurized cabins and the desirability of those

  planes by flight attendants, granting the plaintiff the opportunity to work only in pressurized

  airplanes would have transgressed the rights of other flight attendants with more seniority than

  plaintiff and therefore, was not required. Id. at 137; see also, Stephens, 2018 WL 8459309, at *6

  (plaintiff could not state a prima facie case for failure to accommodate where plaintiff’s requested

  accommodation would violate the rules of a seniority system set forth in a collective bargaining

  agreement); Moritz v. Frontier Airlines, Inc.,147 F.3d 784, 788 (8th Cir. 1998) ( “[i]t is well

  settled that an employer is under no obligation to reallocate the essential functions of a position

  that a qualified individual must perform…As a result, Frontier is not required to revise its bidding

  system...”).

         Like the accommodation requested in Santiago, the accommodation Plaintiff sought—

  exemption from flights with layovers would have required excusing Plaintiff from the mandatory

  seniority-based bidding process set forth in the CBA, encroaching upon the vested rights of other

  flight attendants with more seniority than Plaintiff and violating the CBA’s requirements that all

  active flight attendants bid for flights and accumulate a minimum of 60 credit hours, and that

  flight attendants never drop below forty-five (45) credit hours when making schedule adjustments

  using Open Time. See SOMF at ¶¶ 2, 4. In addition, excusing Plaintiff from the bidding process

  would have done far more than enable Plaintiff to obtain the same workplace opportunities than

  those without disabilities automatically enjoy and at the expense of her fellow flight attendants.



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  See Aubrey v. Koppes, No. 19- 1153, 2020 WL 5583649, at *7 (10th Cir. Sept. 18, 2020)

  (emphasis added). Further, allowing Plaintiff to build her own schedule from Open Time would

  necessarily penalize other flight attendants, regardless of seniority, by taking away alternative

  and/or additional flight opportunities from other flight attendants looking to modify their

  schedules. See SOMF at ¶ 31.

         Regardless of whether or not Plaintiff’s requested accommodation violated the terms of

  the CBA, like the airline in Stephens, which could not guarantee that the plaintiff would never be

  required to take a flight totaling greater than forty-eight (48) hours and the airline in Santiago,

  which could not guarantee that the plaintiff would never be required to take a flight in an aircraft

  without a pressurized cabin, given that flight attendant schedules were often unavoidably altered

  based upon unforeseen weather conditions and aircraft maintenance (among other variables),

  Frontier simply could not have promised that Plaintiff would never end up with a layover.

  Therefore, Plaintiff’s request to build her own schedule from Open Time to avoid flights with

  layovers was simply not reasonable, particularly given Plaintiff’s own repeated testimony that if

  she had to do layovers and overnights, she would not have her sobriety. See IV.B.2 supra.

         In addition, any argument that Frontier is liable under the ADA for denying Plaintiff’s

  request to work at the GO until she was more secure in her sobriety is a red herring. Granting this

  request would have resulted in the same above-described issues in that it would have excused

  Plaintiff, an active flight attendant, from the mandatory, seniority-based bidding process set forth

  in the CBA. Further, allowing Plaintiff the opportunity to indefinitely work in the GO would not

  have enabled Plaintiff to fly layovers, but rather removed an essential function of Plaintiff’s

  position, which Frontier was not required to do. In addition, Plaintiff did not know when her

  condition would improve such that she could fly layovers and therefore, return to her position as a



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  flight attendant. Frontier was not required to accommodate Plaintiff, allowing her to work at the

  GO indefinitely. See SOMF at ¶ 39; see also., Aubrey, 2020 WL 5583649, at *7 (the ADA covers

  people who can perform their essential job functions in the present or near future); Boykin v.

  ATC/VanCom of Colorado, L.P., 247 F.3d 1061, 1065 (10th Cir. 2001); Taylor v. Pepsi–Cola

  Co., 196 F.3d 1106, 1110 (10th Cir.1999) (keeping plaintiff on indefinite leave unreasonable

  accommodation where he had informed employer he “could not advise when and under what

  conditions he could return to any work”); Hoskins v. Oakland County Sheriff's Dept., 227 F.3d

  719, 729 (6th Cir.2000) (unreasonable to require employer to assign employee to new position that

  became available “well over a year” after employer became aware of disability); Sloan v. Tate &

  Lyle Ingredients Americas LLC, No. 3:14-CV-406-TAV-HBG, 2016 WL 4179959, at *9 (E.D.

  Tenn. Aug. 5, 2016) (A “reasonable accommodation does not require the employer to wait

  indefinitely for an employee's medical condition to be corrected”).

         Regardless, the ADA does not require an employer to create a new position, light duty or

  otherwise. See, Mannan v. Colorado, No. 18-CV-01844-MSK-SKC, 2020 WL 533734, at *5 (D.

  Colo. Feb. 2, 2020) (ADA does not “require an employer to create a new position” or provide a

  permanent or indefinite light duty position). Frontier’s creation of temporary light duty

  assignments at the GO for employees injured on the job did not change that fact or somehow

  obligate Frontier to do the same for Plaintiff, an active flight attendant whose alcoholism did not

  equate to an injury on the job and therefore, did not qualify her for Frontier’s OJI program.

         Indeed, Frontier did not maintain open light-duty job positions for flight attendants injured

  on the job, nor were light duty assignments job “positions” – instead, Frontier would temporarily

  assign those injured on the job to perform other employees’ duties. See SOMF at ¶¶ 37, 38. Based

  on well-settled case law, Frontier was not required to do the same for Plaintiff. See Benson v. Wal-



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  Mart Stores E., L.P., No. 2:16-CV-114-DBH, 2017 WL 2729491, at *3 (D. Me. June 23, 2017)

  (granting summary judgment on plaintiff’s ADA claim where plaintiff failed to identify any vacant

  position to which she could transfer as an accommodation and relied only on the fact that defendant

  created a temporary position for workers injured on the job, emphasizing that an employee must

  demonstrate that there is an actual vacant position to which she can transfer and that an employer

  is not required by the ADA to create a new job for an employee); Severson v. Heartland Woodcraft,

  Inc., No. 14-C-1141, 2015 U.S. Dist. LEXIS 153872, at *25-26 (E.D. Wis. Nov. 12, 2015)

  (“Heartland may voluntarily create light-duty positions for employees recovering from workplace

  injuries without becoming compelled to create such positions for employees who are protected by

  the ADA.”); see also, Enforcement Guidance: Workers’ Compensation and the ADA, Equal

  Employment Opportunity Commission, No. 915.002 (Sept. 3, 1996) at Question No. 27, available

  at https://www.eeoc.gov/laws/guidance/enforcement-guidance-workers-compensation-and-ada (if

  an employer creates light duty positions for employees injured on the job, it does not have do the

  same as an accommodation for employees who were not injured on the job); Wade v. Brennan,

  647 F. App'x 412, 415 (5th Cir. 2016) (employer not required to exempt employee from

  performance of essential function of the job, to find or create a new job for employee or to

  disadvantage other employees as a result of reassignment).

         D.      Frontier is Entitled to Summary Judgment on Plaintiff’s Retaliation Claim
                 (Count III).

         To establish prima facie case of retaliation under ADA, an employee must show: “(1) he

  or she engaged in protected activity; (2) he or she was subjected to adverse employment action

  subsequent to or contemporaneous with the protected activity; and (3) causal connection between

  the protected activity and the adverse employment action.” Anderson v. Coors Brewing Co., 181

  F.3d 1171 (10th Cir. 1999). Once the plaintiff establishes a prima facie case, McDonnell Douglas

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  burden-shifting described in Section IV.B supra applies.

         For the reasons set forth in Section IV.B.3 supra, Plaintiff has not and cannot show any

  causal connection between Plaintiff’s requests for accommodation and the termination of her

  employment. At the time that Frontier terminated Plaintiff’s employment, the company had been

  engaging in the interactive process with Plaintiff and accommodating her alcoholism for over a

  year and Plaintiff had admittedly violated the company’s Dependability Policy just weeks prior.

  See SOMF at ¶¶ 51, 52, 56; Argo v. Blue Cross & Blue Shield of Kan., Inc., 452 F.3d 1193, 1203

  (10th Cir. 2006) (“the timing of the termination actually cuts against a finding of pretext by

  strongly suggesting that [the employer] acted in response to specific and continuing disciplinary

  problems”). Although Frontier had denied Plaintiff’s request to excuse her from flights with

  layovers, the company had reminded her that she could apply for a continuous leave or additional

  Intermittent FMLA Leave. See SOMF at ¶ 47; Trujillo-Cummings v. Pub. Serv. Co. of N.M., 1999

  WL 169336, at *3 (10th Cir. Mar. 29, 1999) (unpublished) (concluding that intervening positive

  employment actions, including employer's approval of work-at-home arrangement, undermined

  plaintiff's retaliation claim). Plaintiff did neither and instead, just weeks later, admittedly failed

  to show up for a scheduled four (4) day trip and admittedly failed to follow Frontier’s call-out

  procedures. See SOMF at ¶¶ 51, 52, 56; Anderson v. Coors Brewing Co., 181 F.3d 1171, 1179

  (10th Cir. 1999) (intervening acts of misconduct disrupt the causal connection that could be

  established by proximity). No reasonable jury could conclude that these undisputed material facts

  amounted to retaliation.

   V.    CONCLUSION

         For the foregoing reasons, Frontier respectfully requests that this Court grant summary

  judgment in its favor on Plaintiff’s Complaint in its entirety.



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         Respectfully submitted this 17th day of November, 2020.

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                                CERTIFICATE OF SERVICE

         I certify that on this 17th day of November 2020, I filed and served the foregoing

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